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                                                U.S. Department of Justice
                                                Environment and Natural Resources Division

Environmental Defense Section                                           Telephone (202) 514-2640
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Washington, DC 20044




                                                March 20, 2023


VIA ELECTRONIC FILING

Lyle W. Cayce, Clerk of the Court
U.S. Court of Appeals for the Fifth Circuit
600 S. Maestri Pl., Ste 115
New Orleans, LA 70130

Re:      State of Texas, et al. v. Environmental Protection Agency, et al., No. 23-
         60069


Dear Mr. Cayce:

      Respondents U.S. Environmental Protection Agency and Michael S. Regan,
Administrator of the U.S. Environmental Protection Agency (collectively, “EPA”)
submit this letter regarding EPA’s motion to transfer the petitions for review to the
D.C. Circuit, or alternatively dismiss those petitions based on improper venue, filed
on March 15, 2023 (“Venue Motion”). ECF Doc. No. 50. Since EPA filed the
Venue Motion, additional petitions for review have been filed in the same docket.
See ECF Doc. Nos. 52-1, 58-1, 63-1. The petitions for review in this docket, No.
23-60069, are of the same final rule promulgated by EPA. 1 The Venue Motion
explains that the proper venue for any petition for review of that rule is in the D.C.
Circuit.


1
  Undersigned counsel informed Petitioners’ counsel about the filing of this letter.
Counsel for Luminant Generation Company LLC, Coleto Creek Power, LLC,
Ennis Power Company, LLC, Hays Energy, LLC, Midlothian Energy, LLC, Oak
Grove Management Company LLC, and Wise County Power Company, LLC
informed undersigned counsel, and requested that she note in this letter, that those
petitioners disagree with EPA’s characterization of the petitions for review.
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       Undersigned counsel reached out to the case manager for this docket and was
instructed to submit this letter rather than file additional substantively identical
venue motions in response to the new petitions. Accordingly, EPA seeks to clarify
and inform this Court that the Venue Motion applies to all petitions for review that
are filed in this docket, including those that have been or are filed after the filing of
EPA’s Venue Motion. See Venue Mot. at 18 (requesting that “the petitions for
review of the Final Rule . . . be transferred to the D.C. Circuit or dismissed for
improper venue”).



                                          Sincerely,

                                           /s/ Jin Hyung Lee
                                          JIN HYUNG LEE

cc: Counsel of record, via CM/ECF




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